                                   Case 2:21-cv-06471-AB-JDE Document 1 Filed 08/11/21 Page 1 of 13 Page ID #:1




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                                 Swazi Taylor
                               8
                               9
                              10                     UNITED STATES DISTRICT COURT
                              11                               FOR THE
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                                                    CENTRAL DISTRICT OF CALIFORNIA
                              12
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                                    SWAZI TAYLOR,                         Case No.: 2:21-cv-06471
                              13
                                                Plaintiff,                COMPLAINT FOR DAMAGES FOR
                              14                                          VIOLATIONS OF:
                                                        v.
                              15                                          FAIR DEBT COLLECTION
                                    TRUEACCORD CORP. and                  PRACTICES ACT, 15 U.S.C. § 1692
                              16                                          ET SEQ., AND
                                    CAVALRY SPV I, LLC,
                              17                                          ROSENTHAL FAIR DEBT
                                                Defendants.               COLLECTION PRACTICES ACT,
                              18                                          CALIFORNIA CIVIL CODE § 1788
                                                                          ET SEQ.
                              19
                                                                             DEMAND FOR JURY TRIAL
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                                   COMPLAINT FOR DAMAGES
                                   Case 2:21-cv-06471-AB-JDE Document 1 Filed 08/11/21 Page 2 of 13 Page ID #:2




                               1                                         INTRODUCTION
                               2 1.    This is a case about a consumer who was humiliated when a debt buyer and its
                               3       collection agent contacted the consumer’s brother on multiple occasions in
                               4       connection to the collection of an alleged debt. In addition to giving personal
                               5       information to the consumer’s brother, the debt buyer and its agent continued their
                               6       deceptive collection practices by concealing the fact that the debt was not legally
                               7       enforceable, and that any payment might make the consumer subject to a lawsuit
                               8       where before he wasn’t.
                               9 2.    SWAZI TAYLOR (“Plaintiff”), by Plaintiff’s attorney, brings this action for
                              10       actual damages, statutory damages, punitive damages, attorneys fees, and costs,
                              11       against TRUEACCORD CORP. and CAVALRY SPV I, LLC for violations
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                              12       of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13       “FDCPA”), and the Rosenthal Fair Debt Collection Practices Act, California Civil
                              14       Code § 1788 et seq. (hereinafter “RFDCPA”), both of which prohibit debt
                              15       collectors from engaging in abusive, deceptive and unfair practices.
                              16 3.    Plaintiff makes these allegations on information and belief, with the exception
                              17       of those allegations that pertain to the Plaintiff, or to the Plaintiff’s counsel,
                              18       which Plaintiff alleges on personal knowledge.
                              19 4.    While many violations are described below with specificity, this Complaint
                              20       alleges violations of the statutes cited in their entirety.
                              21 5.    All violations by Defendants were knowing, willful, and intentional, and
                              22       Defendants did not maintain procedures reasonably adapted to avoid any such
                              23       violations.
                              24 6.    Unless otherwise indicated, the use of a Defendant’s name in this Complaint
                              25       includes all agents, principles, managing agents, employees, officers, members,
                              26       directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
                              27       representatives, and insurers of those Defendants named.
                              28 ///

                                   COMPLAINT FOR DAMAGES                                                   Page 2 of 13
                                   Case 2:21-cv-06471-AB-JDE Document 1 Filed 08/11/21 Page 3 of 13 Page ID #:3




                               1                                 JURISDICTION AND VENUE
                               2 7.    Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states
                               3       that such actions may be brought and heard before “any appropriate United States
                               4       district court without regard to the amount in controversy,” 28 U.S.C. § 1331,
                               5       which grants this court original jurisdiction of all civil actions arising under the
                               6       laws of the United States, and pursuant to 28 U.S.C. § 1367 for pendent state law
                               7       claims.
                               8 8.    This action arises out of Defendants’ violations Fair Debt Collection Practices
                               9       Act, 15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”), and the Rosenthal Fair Debt
                              10       Collection Practices Act, California Civil Code § 1788 et seq. (hereinafter
                              11       “RFDCPA”).
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                              12 9.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because the acts and
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                              13       transactions occurred here, Plaintiff resides here, and Defendants transact
                              14       business here.
                              15                                 FDCPA AND RFDCPA
                              16 10. In enacting the FDCPA, Congress found that:
                              17      a.    There is abundant evidence of the use of abusive, deceptive, and unfair debt
                              18            collection practices by many debt collectors.         Abusive debt collection
                              19            practices contribute to the number of personal bankruptcies, to marital
                              20            instability, to the loss of jobs, and to invasions of individual privacy.
                              21      b.    Existing laws and procedures for redressing these injuries are inadequate to
                              22            protect consumers.
                              23      c.    Means other than misrepresentation or other abusive debt collection
                              24            practices are available for the effective collection of debts.
                              25      d.    Abusive debt collection practices are carried on to a substantial extent in
                              26            interstate commerce and through means and instrumentalities of such
                              27            commerce. Even where abusive debt collection practices are purely intrastate
                              28            in character, they nevertheless directly affect interstate commerce.

                                   COMPLAINT FOR DAMAGES                                                      Page 3 of 13
                                   Case 2:21-cv-06471-AB-JDE Document 1 Filed 08/11/21 Page 4 of 13 Page ID #:4




                               1     e.     It is the purpose of this title to eliminate abusive debt collection practice by
                               2            debt collectors, to insure that those debt collectors who refrain from using
                               3            abusive debt collection practices are not competitively disadvantaged, and to
                               4            promote consistent State action to protect Consumers against debt collection
                               5            abuses. 15 U.S.C. § 1692.
                               6 11. Similarly, when enacting the RFDCPA, the California Legislature found that:
                               7            The banking and credit system and grantors of credit to consumers are
                               8            dependent upon the collection of just and owing debts. Unfair or
                               9            deceptive collection practices undermine the public confidence which
                              10            is essential to the continued functioning of the banking and credit
                              11            system and sound extensions of credit to consumers. Cal. Civil Code
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                              12            § 1788.1(a)(1).
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                              13 12. The FDCPA and the RFDCPA are both strict liability statutes. That is, a
                              14       plaintiff need not prove intent or knowledge on the part of the debt collector to
                              15       establish liability. See Gonzales v. Arrow Fin. Servs., LLC, 660 F.3d 1055,
                              16       1060-61 (9th Cir. 2011); Donohue v. Quick Collect, 592 F.3d 1027, 1030 (“[t]he
                              17       FDCPA is a strict liability statute that makes debt collectors liable for violations
                              18       that are not knowing or intentional”).
                              19 13. To further protect consumers, claims under the FDCPA and RFDCPA are to be
                              20       judged according to the “least sophisticated debtor” or “least sophisticated
                              21       consumer” standard. Gonzales at 1061.          This standard is lower than the
                              22       “reasonable debtor” standard and is specifically designed to protect consumers
                              23       of below average and sophistication or intelligence. Id. In addition, a plaintiff
                              24       need not even have actually been misled or deceived by the debt collector’s
                              25       communication. Rather, liability depends on whether the hypothetical least
                              26       sophisticated debtor – someone who is uninformed and naïve – would have
                              27       likely been misled. Id.; see also Tourgeman v. Collins Financial Servs., 755
                              28       F.3d 1109, 1119 (9th Cir. 2014).

                                   COMPLAINT FOR DAMAGES                                                     Page 4 of 13
                                   Case 2:21-cv-06471-AB-JDE Document 1 Filed 08/11/21 Page 5 of 13 Page ID #:5




                               1                                          PARTIES
                               2 14. Plaintiff is a natural person who resides in the County of Los Angeles, State of
                               3       California. Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
                               4       1692a(3) and “Debtor” as that term is defined by California Civil Code §
                               5       1788.2(h).
                               6 15. Defendant TrueAccord Corp. (hereinafter “Defendant TrueAccord”) is a
                               7       Delaware corporation operating from an address of 16011 College Blvd. Suite
                               8       130, Lenexa, KS 66219, and is a “Debt Collector” as that term is defined by 15
                               9       U.S.C. § 1692a(6) and Cal. Civ. Code § 1788.2(c) because it regularly uses the
                              10       mails and/or the telephone to collect, or attempt to collect, directly or indirectly,
                              11       defaulted consumer debts that it did not originate. It operates a nationwide debt
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                              12       collection business and attempts to collect debts from consumers in virtually
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13       every state, including consumers in the State of California. Its principal, if not
                              14       sole, business purpose is the collection of defaulted consumer debts originated by
                              15       others, and, in fact was acting as a debt collector as to the delinquent consumer
                              16       debt it attempted to collect from Plaintiff.
                              17 16. Defendant Cavalry SPV I, LLC (hereinafter “Defendant Cavalry”) is a
                              18       Delaware corporation operating from an address of 500 Summit Lake Drive, Suite
                              19       400 Valhalla, NY 10595, and is a “Debt Collector” as that term is defined by 15
                              20       U.S.C. § 1692a(6) and Cal. Civ. Code § 1788.2(c) because it regularly uses the
                              21       mails and/or the telephone to collect, or attempt to collect, directly or indirectly,
                              22       defaulted consumer debts that it did not originate. It operates a nationwide debt
                              23       collection business and attempts to collect debts from consumers in virtually
                              24       every state, including consumers in the State of California. Its principal, if not
                              25       sole, business purpose is the acquisition and collection of defaulted consumer
                              26       debts originated by others, and, in fact was acting as a debt collector as to the
                              27       delinquent consumer debt it attempted to collect from Plaintiff. Defendant
                              28       Cavalry is a bad debt buyer that buys large portfolios of defaulted consumer debts

                                   COMPLAINT FOR DAMAGES                                                     Page 5 of 13
                                   Case 2:21-cv-06471-AB-JDE Document 1 Filed 08/11/21 Page 6 of 13 Page ID #:6




                               1       for pennies on the dollar, which it then collects upon through other collection
                               2       agencies.
                               3 17. This case involves money due or owing or alleged to be due or owing from a
                               4       natural person by reason of a consumer credit transaction. As such, this action
                               5       arises out of a “consumer debt” and “consumer credit” as those terms are
                               6       defined by Cal. Civ. Code § 1788.2(f).
                               7 18. Plaintiff is informed and believes, and thereon allege that at all times herein
                               8       mentioned Named Defendants were agents, officers, directors, managing
                               9       agents, employee and/or joint venturer of each of their co-defendants and, in
                              10       doing the things hereafter mentioned, each was acting in the scope of his
                              11       authority as such agent, officer, director, managing agent, employee, and/or
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                              12       joint venturer, and with the permission, knowledge, ratification, and consent of
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     548 MARKET ST. #80594




                              13       their co-defendants, and each of them. Any reference hereafter to “Defendants”
                              14       without further qualification is meant by Plaintiff to refer to each Defendant,
                              15       and all of them, named above.
                              16                                FACTUAL ALLEGATIONS
                              17 19. Plaintiff is an individual residing in the County of Los Angeles in the State of
                              18       California.
                              19 20. Plaintiff is informed and believes, and thereon alleges, that at all times relevant,
                              20       Defendants conducted and continue to conduct business in the State of
                              21       California.
                              22 21. Defendant Cavalry’s business consists solely of the acquisition and collection of
                              23       delinquent consumer debts.
                              24 22. Defendant TrueAccord’s business consists solely of the collection of delinquent
                              25       consumer debts.
                              26 23. In about 1997, Plaintiff opened a Citibank credit card for personal, family, and
                              27       household purposes.
                              28 ///

                                   COMPLAINT FOR DAMAGES                                                   Page 6 of 13
                                   Case 2:21-cv-06471-AB-JDE Document 1 Filed 08/11/21 Page 7 of 13 Page ID #:7




                               1 24. Plaintiff ultimately fell behind on payments and in 2011 made his last payment
                               2       towards this account.
                               3 25. On April 5, 2011, Plaintiff received email correspondence from Citibank, at his
                               4       personal email address, notifying him that there had been a system breach.
                               5 26. On April 9, 2011, Plaintiff received email communication from Citibank, also at
                               6       his personal email address.
                               7 27. On information and belief, Defendant Cavalry acquired the debt from Citibank
                               8       either directly or through intermediary bad debt buyers.
                               9 28. On information and belief, Defendant Cavalry hired Defendant TrueAccord as its
                              10       Agent to collect this and other debts on Defendant Cavalry’s behalf.
                              11 29. On May 20, 2021, Plaintiff’s brother received email communication, at his
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                              12       personal email address, from Defendant TrueAccord demanding payment in the
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     548 MARKET ST. #80594




                              13       amount $649.02.
                              14 30. On June 20, 2021, Plaintiff’s brother received email communication, at his
                              15       personal email address, from Defendant TrueAccord in connection with the
                              16       collection of Plaintiff’s debt.
                              17 31. On information and belief, within the preceding 12 months, Defendants have
                              18       disclosed Plaintiff’s debt to an unauthorized third party on multiple occasions.
                              19 32. At no time did Plaintiff give Defendants prior consent to communicate with third
                              20       parties regarding his debt.
                              21 33. Plaintiff expected that his financial affairs, especially those regarding personal
                              22       debt, were private between himself and whomever his creditors were.
                              23 34. Defendants’ communication with third parties regarding Plaintiff’s debt was
                              24       without the express permission of a court of competent jurisdiction and was not
                              25       reasonably necessary to effectuate a post judgment judicial remedy.
                              26 35. Plaintiff has made no payments towards the Citibank account since prior to 2012.
                              27 36. The statute of limitations in California for a credit card debt is 4 years from the
                              28       date of last payment.

                                   COMPLAINT FOR DAMAGES                                                   Page 7 of 13
                                   Case 2:21-cv-06471-AB-JDE Document 1 Filed 08/11/21 Page 8 of 13 Page ID #:8




                               1 37. Partial payment of a debt subject to, and older than, the California statute of
                               2       limitations may re-start the statute of limitations clock. See California Code of
                               3       Civil Procedure § 360.
                               4                                   ACTUAL DAMAGES
                               5 38. Plaintiff has suffered actual damages as a result of these illegal collection and
                               6       intimidation tactics by this Defendant in the form of invasion of privacy, personal
                               7       embarrassment, loss of personal reputation, loss of productive time, nausea, and
                               8       feelings of fear, anxiety, hopelessness, anger, persecution, emotional distress,
                               9       frustration, upset, humiliation, and embarrassment, amongst other negative
                              10       emotions.
                              11                      CAUSES OF ACTION CLAIMED BY PLAINTIFF
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                              12                                         COUNT I
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13                        VIOLATION OF § 1692C OF THE FDCPA
                              14 39. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              15       as though fully stated herein.
                              16 40. A debt collector violates § 1692c of the FDCPA when it, communicates with any
                              17       unauthorized third party in connection with the collection of any debt.
                              18 41. Defendants violated §1692c of the FDCPA when they, among other qualifying
                              19       actions and omissions, willfully and without justification, communicated with
                              20       Plaintiff’s brother on multiple occasions when it was known, or should have been
                              21       known, that Defendants were communicating with an unauthorized third party.
                              22                                        COUNT II
                              23                        VIOLATION OF § 1692D OF THE FDCPA
                              24 42. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              25       as though fully stated herein.
                              26 43. A debt collector violates § 1692d of the FDCPA when it engages in any conduct
                              27       the natural consequence of which is to harass, oppress, or abuse any person in
                              28       connection with the collection of a debt.

                                   COMPLAINT FOR DAMAGES                                                   Page 8 of 13
                                   Case 2:21-cv-06471-AB-JDE Document 1 Filed 08/11/21 Page 9 of 13 Page ID #:9




                               1 44. Defendants violated § 1692d when they, among other qualifying actions and
                               2       omissions, willfully oppressed, abused, and harassed Plaintiff, by disclosing his
                               3       debt to a family member and by hiding the fact that Plaintiff could not be sued for
                               4       the debt and that any payment made towards it might re-start the statute of
                               5       limitations and subject Plaintiff to a collection lawsuit for the entire amount plus
                               6       court costs and fees.
                               7                                        COUNT III
                               8                         VIOLATION OF § 1692E OF THE FDCPA
                               9 45. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              10       as though fully stated herein.
                              11 46. A debt collector violates § 1692e of the FDCPA when it uses any false, deceptive,
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                              12       or misleading representation or means in connection with the collection of any
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13       debt.
                              14 47. Defendants violated § 1692e when they, among other qualifying actions and
                              15       omissions, willfully misrepresented the legal status of the debt, to wit: that due
                              16       to the age of the debt, Plaintiff could not be sued for it, and that the payment
                              17       requested by Defendant might re-start the statute of limitations and subject
                              18       Plaintiff to a collection lawsuit for the entire amount plus court costs and fees.
                              19                                         COUNT IV
                              20                         VIOLATION OF § 1692F OF THE FDCPA
                              21 48. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              22       as though fully stated herein.
                              23 49. A debt collector violates § 1692f of the FDCPA when it uses unfair or
                              24       unconscionable means to collect or attempt to collect any debt.
                              25 50. Defendants violated § 1692f when they, among other qualifying actions and
                              26       omissions, willfully misrepresented the legal status of the debt, to wit: that due
                              27       to the age of the debt, Plaintiff could not be sued for it, and that the payment
                              28 ///

                                   COMPLAINT FOR DAMAGES                                                     Page 9 of 13
                                   Case 2:21-cv-06471-AB-JDE Document 1 Filed 08/11/21 Page 10 of 13 Page ID #:10




                               1        requested by Defendant might re-start the statute of limitations and subject
                               2        Plaintiff to a collection lawsuit for the entire amount plus court costs and fees.
                               3                                          COUNT V
                               4                      VIOLATION OF § 1788.12(B) OF THE RFDCPA
                               5 51. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                               6        as though fully stated herein.
                               7 52. A defendant violates § 1788.12(b) of the RFDCPA when it makes any
                               8        communication regarding a consumer debt to any member of the debtor’s
                               9        family, than the debtor's spouse or the parents or guardians of the debtor who is
                              10        either a minor or who resides in the same household with such parent or
                              11        guardian, prior to obtaining a judgment against the debtor, except where the
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                              12        purpose of the communication is to locate the debtor, or where the debtor or his
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13        attorney has consented in writing to such communication
                              14 53. Defendants violated § 1788.12(b) of the RFDCPA when they among other
                              15        qualifying actions and omissions, willfully and without justification,
                              16        communicated regarding Plaintiff’s debt to Plaintiff’s brother on multiple
                              17        occasions when it was known, or should have been known, that Defendants
                              18        were communicating to someone else.
                              19                                          COUNT VI
                              20                        VIOLATION OF § 1788.17 OF THE RFDCPA
                              21 54. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              22        as though fully stated herein.
                              23 55. A defendant violates § 1788.17 of the RFDCPA when it fails to comply with
                              24        the provisions of 15 U.S.C. § 1692b to 1692j, inclusive.
                              25 56. Defendants violated § 1788.17 of the RFDCPA when they willfully engaged in
                              26        conduct, the natural consequence of which the violation of 15 U.S.C. § 1692b
                              27        and 1692e, among others.
                              28 ///

                                   COMPLAINT FOR DAMAGES                                                      Page 10 of 13
                                   Case 2:21-cv-06471-AB-JDE Document 1 Filed 08/11/21 Page 11 of 13 Page ID #:11




                               1                                         COUNT VII
                               2                                         NEGLIGENCE
                               3 57. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                               4        as though fully stated herein.
                               5 58. A defendant is liable for the tort of negligence when it fails to use reasonable
                               6        care to prevent harm to others, and when the defendant’s actions or failure to
                               7        act is a substantial factor in causing harm to the plaintiff.
                               8 59. Defendants violated at least one of its general duties of care to Plaintiff when
                               9        they, among other qualifying actions and omissions, willfully misrepresented the
                              10        legal status of the debt, to wit: that due to the age of the debt, Plaintiff could not
                              11        be sued for it, and that the payment requested by Defendant might re-start the
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                              12        statute of limitations and subject Plaintiff to a collection lawsuit for the entire
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     548 MARKET ST. #80594




                              13        amount plus court costs and fees.
                              14 60. As a direct result of Defendants’ lack of due care, Plaintiff suffered actual
                              15        damages in an amount to be proven at trial.
                              16                                         COUNT VIII
                              17                                INTRUSION UPON SECLUSION
                              18 61. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              19        as though fully stated herein.
                              20 62. A defendant is liable for the tort of intrusion upon seclusion when it
                              21        intentionally intrudes upon a plaintiff’s reasonable expectation of privacy in a
                              22        way that is highly offensive to a reasonable person, and, as a result that intrusion
                              23        is a substantial factor in causing harm to the plaintiff.
                              24 63. Plaintiff had a reasonable expectation of privacy in his financial affairs.
                              25        Defendant intentionally intruded on both of those in a highly offensive manner
                              26        with the motive and goal to coerce Plaintiff into paying them money.
                              27 64. Defendant’s conduct was a substantial factor in causing Plaintiff actual harm in
                              28        an amount to be proven at trial.

                                   COMPLAINT FOR DAMAGES                                                       Page 11 of 13
                                   Case 2:21-cv-06471-AB-JDE Document 1 Filed 08/11/21 Page 12 of 13 Page ID #:12




                               1                                  PRAYER FOR RELIEF
                               2 WHEREFORE, Plaintiff prays that judgment be entered against each Defendant
                               3 for:
                               4            a) Award of compensatory damages for losses, in an amount to be
                               5               determined at trial, pursuant to the common law of torts against
                               6               Defendants and for Plaintiff, and,
                               7            b) Award for interest on the amount of losses incurred at the prevailing legal
                               8               rate against Defendants and for Plaintiff, and,
                               9            c) Award for pre-judgment interest against Defendants and for Plaintiff,
                              10               and,
                              11            d) Award of exemplary and punitive damages, in an amount to be
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                              12               determined at trial, pursuant to California Civil Code § 3924 against
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                              13               Defendants and for Plaintiff, and,
                              14            e) Award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) (FDCPA)
                              15               and pursuant to Cal. Civ. Code § 1788.30 (RFDCPA), against each
                              16               Defendant and for Plaintiff, and,
                              17            f) Award of statutory damages in the amount of $1000.00 pursuant to 15
                              18               U.S.C. § 1692k(a)(1) (FDCPA) against each Defendant and for Plaintiff,
                              19               and,
                              20            g) Award of statutory damages in the amount of $1000.00 pursuant to Cal.
                              21               Civ. Code § 1788.30 (RFDCPA) against each Defendant and for Plaintiff,
                              22               and,
                              23            h) Award of costs of litigation and reasonable attorney’s fees pursuant to 15
                              24               U.S.C. § 1692k(a)(1) (FDCPA) and pursuant to Cal. Civ. Code § 1788.30
                              25               (RFDCPA), against each Defendant and for Plaintiff, and,
                              26            i) Award to Plaintiff of such other and further relief as may be just and
                              27               proper.
                              28                            TRIAL BY JURY IS DEMANDED.

                                   COMPLAINT FOR DAMAGES                                                   Page 12 of 13
                                   Case 2:21-cv-06471-AB-JDE Document 1 Filed 08/11/21 Page 13 of 13 Page ID #:13




                               1 65. Pursuant to the seventh amendment to the Constitution of the United States of
                               2        America, Plaintiff is entitled to, and demands, a trial by jury.
                               3
                               4                                           THE CARDOZA LAW CORPORATION
                               5 DATED: August 11, 2021                    BY: /S/ LAUREN B. VEGGIAN
                               6                                           MICHAEL F. CARDOZA, ESQ.
                                                                           LAUREN B. VEGGIAN, ESQ.
                               7                                           ATTORNEYS FOR PLAINTIFF,
                               8                                           SWAZI TAYLOR

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     548 MARKET ST. #80594




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                                   COMPLAINT FOR DAMAGES                                                   Page 13 of 13
